Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 1 of 7

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS 6099 i 7 AMT 24
EL PASO DIVISION =~

UNITED STATES OF AMERICA bist n/

v. Case Number: EP:20-CR-00389-DCG(1')
USM Number: 45894-480
PATRICK WOOD CRUSIUS

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, PATRICK WOOD CRUSIUS, was represented by Joe A. Spencer, Jr., Felix Valenzuela, Mark
Stevens, and Rebecca L. Hudsmith.,

On motion by the Government, the Court has dismissed the Original of the Indictment.

The defendant pled guilty to Counts One through Ninety of the Superseding Indictment on February 8, 2023.
Accordingly, the defendant is adjudged guilty of such Counts, involving the following offenses:

 

 

Title & Section / Nature of Offense Offense Ended Count

18 USC 249(a)(2)(A)Gi)() Hate Crime Resulting In Death August 3, 2019 One through
Twenty-three

18 USC 249(c)(1)(A)(iii), & 18 USC 924(G)(1) Use Of A Firearm To August 3, 2019 Twenty-four through

Commit Murder During And In Relation To A Crime Of Violence Forty-Six

18 USC 249(a)(2)(A)(ii) UD Hate Crime Involving Attempt To kill August 3, 2019 Forty-seven through
Sixty-eight

18 USC 924(c)(1)(A)(iii) Use Of A Firearm During And In Relation To | August 3, 2019 Sixty-nine through

A Crime Of Violence Ninety

As pronounced on July 7, 2023, the defendant is sentenced as provided in pages 2 through 8 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of
any material change in the defendant’s economic circumstances.

Signed this a day of July, 2023.

   

DAVID ¢. GUADERRAMA
R UNITED'STATES DISTRICT JUDGE

  

SENI
Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 2 of 7

AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case Judgment -- Page 2 of 7
DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)
IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of
Life as to each of Counts One through Ninety, to be served consecutively.

The Court makes the following recommendations to the Bureau of Prisons:

That the defendant serve this sentence at USP Florence ADMAX, Fremont County, Florence, Colorado; and
That the defendant receive treatment and counseling for severe mental health condition.

The defendant shall remain in custody pending service of sentence.

RETURN

I have executed this Judgment as follows:

 

 

 

Defendant delivered on to
. with a certified copy of this Judgment.

at

 

United States Marshal

By

 

Deputy Marshal
AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case

Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 3 of 7

Judgment -- Page 3 of 7

DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years as to each

of Counts One through Ninety, to run concurrently.

While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special

and/or additional conditions on the attached pages that have been adopted by this Court.

9

MANDATORY CONDITIONS

The defendant shall not commit another federal, state or local crime during the term of supervision.
The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as
determined by the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if
the defendant’s presentence report or other reliable sentencing information indicates low risk of future substance
abuse by the defendant.

The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of
such a sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C.
§ 14135a).

If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification
Act (34 U.S.C. § 20901, ef. seg.) as instructed by the probation officer, the Bureau of Prisons, or any state sex
offender registration agency in which the defendant resides, works, is a student, or was convicted of a qualifying
offense.

If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an
approved program for domestic violence.

If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

The defendant shall notify the court of any material change in defendant’s economic circumstances that might affect
the defendant’s ability to pay restitution, fines, or special assessments.
Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 4 of 7

AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case Judgment -- Page 4 of 7
DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)

STANDARD CONDITIONS OF SUPERVISED RELEASE

1. The defendant shail report to the probation office in the federal judicial district where he or she is authorized to reside within
72 hours of release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

3. The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first getting
permission from the court or the probation officer.

4. The defendant shall answer truthfully the questions asked by the probation officer.

5. The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives or
anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a change or
expected change.

6. The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that
are observed in plain view.

7, The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full-time
employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about his or her work (such as the position or job responsibilities), the defendant shail notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a
change or expected change.

8, The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with that
person without first getting the permission of the probation officer.

9, If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
72 hours.

10. The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

il. The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction. The
probation officer may contact the person and confirm that the defendant has notified the person about the risk.

13. The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

14. If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
in accordance with the Schedule of Payments sheet of the judgment.

15. If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is the condition of
supervision that the defendant shall provide the probation officer access to any requested financial information.

16. If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
the probation officer, unless the defendant is in compliance with the payment schedule.

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand additional information regarding these conditions is available at the

www.uscourts.gov.

Defendant’s Signature Date

 
Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 5 of 7

AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case Judgment -- Page 5 of 7
DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)

\><

|-<

SPECIAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall participate in a mental health treatment program and follow the rules and regulations of that program.
The probation officer, in consultation with the treatment provider, shall supervise participation in the program (provider,
location, modality, duration, intensity, ete.). The defendant shall pay the costs of such treatment if financially able.

The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a United States
probation officer, Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under
this condition only when reasonable suspicion exists that the defendant has violated a condition of supervision and that the areas to
be searched contain evidence of this violation. Any search shall be conducted at a reasonable time and in a reasonable manner.
Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 6 of 7

AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case Judgment -- Page 6 of 7
DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall remain in the custody of the Federal Bureau of Prisons during nights, weekends, or other intervals of time, totaling
no more than the lesser of one year or the term of imprisonment authorized for the offense, during the first year of the term of probation
or supervised release as directed by the Court.

|<

If the judgment imposes a financial penalty, the defendant shall pay the financial penalty in accordance with the Schedule of
Payments sheet of this judgment. The defendant shall notify the court of any changes in economic circumstances that might affect
the ability to pay this financial penalty.

[><

The defendant shall provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney's Office.

[><

The defendant shall not incur new credit charges, or open additional lines of credit without approval of the probation officer.

[p<
Case 3:20-cr-00389-DCG Document 280 Filed 07/07/23 Page 7 of 7

AO 245B (Rev. TXW 11/16) Judgment in a Criminal Case Judgment -- Page 7 of 7
DEFENDANT: PATRICK WOOD CRUSIUS
CASE NUMBER: EP:20-CR-00389-DCG(1)

CRIMINAL MONETARY PENALTIES/ SCHEDULE

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those payments made
through Federal Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, United States
District Court, Attn: Mail Log, Albert Armendariz, Sr. United States Courthouse, 525 Magoffin Avenue, Suite 105, El Paso,
TX, 79901 or online by Debit (credit cards not accepted) or ACH payment (direct from Checking or Savings Account)
through Pay.gov (link accessible on the landing page of the U.S. District Court’s Website). Your mail-in or online
payment must include your case number in the exact format of DTXW320CR000389-001 to ensure proper
application to your criminal monetary penalty.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Assessment Restitution Fine AVAA Assessment®*  JVTA Assessment**

TOTALS: $9,000.00 $.00 $.00 $.00 $.00

Special Assessment

It is ordered that the defendant shall pay to the United States a special assessment of $9,000.00.

Fine

The fine is waived because of the defendant’s inability to pay.
Restitution

Restitution shall be determined at a later date.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community restitution,
(7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but before
April 23, 1996.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
